
381 Pa. 430 (1955)
Hartley
v.
United Mine Workers of America, Appellant.
Supreme Court of Pennsylvania.
Argued March 15, 1955.
April 18, 1955.
Before STERN, C.J., STEARNE, JONES, BELL, CHIDSEY, MUSMANNO and ARNOLD, JJ.
Anthony Cavalcante, with him Ewing B. Pollock and Pollock &amp; Pollock, for appellant.
John I. Hook, Jr., with him Scott &amp; Hook, for appellees.
*431 OPINION PER CURIAM, April 18, 1955:
The judgment is affirmed on the opinion of President Judge HOOK.
